                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


JAMES MARABLE and KIM MARABLE                         )
                                                      )
                       Plaintiffs,                    )
                                                      )
vs.                                                   )
                                                      )
                                                      )
Q CARRIERS, INC. and MASON T.                         )
WILLIAMS,                                             )
                                                      )
                       Defendants.                    )
                                                      ) CASE NO. 3:12-00818
and                                                   ) JUDGE SHARP/KNOWLES
                                                      )
STATE FARM MUTUAL AUTOMOBILE                          ) JURY DEMAND
INSURANCE COMPANY a/s/o JAMES W.                      )
and KIM MARABLE,                                      )
                                                      )
                       Plaintiffs,                    )
                                                      )
v.                                                    )
                                                      )
                                                      )
MASON T. WILLIAMS and SUMMIT                          )
EQUIPMENT LEASING, LLC,                               )
                                                      )
                       Defendants.                    )


                                              ORDER

       This matter is before the Court, sua sponte, with regard to an issue concerning this Courts

jurisdiction. “[E]very federal court, whether trial or appellate, is obliged to notice want of

subject matter jurisdiction on its own Motion.” Things Remembered, Inc. v. Petrarca, Inc., 516

U.S. 124, 132 n.1 (Ginsburg, J., concurring). See also Answers in Genesis of Kentucky, Inc., v.

Creation Ministries International, Ltd., 556 F.3d 459, 465 (6th Cir. 2009) (“[F]ederal courts have




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a duty to consider their subject matter jurisdiction in regard to every case and may raise the issue

sua sponte.”).

       Defendants removed this action from the Circuit Court for Davidson County, Tennessee,

arguing that the Court has jurisdiction over this case pursuant to 29 U.S.C. §

1332(a)(1)(Diversity of Citizenship). Docket No. 1.

       The Complaint identifies Plaintiffs as citizens of the State of Tennessee. Defendant

Summit Equipment Leasing, LLC, is identified as “a citizen of the State of Minnesota, in that it

is a corporation organized in the State of Minnesota with its principal place of business in

Minnesota.” Docket No. 1, p. 3. Despite this statement, it appears that Summit is an LLC, not a

“corporation.”

       The allegations regarding Defendant are not sufficient to establish that this Court has

diversity jurisdiction of this action. The Sixth Circuit has held that the citizenship of a limited

liability company is determined by the citizenship of its members, and not by reference to the

laws of the state in which it is incorporated or the state in which it has its principal place of

business. See Delay v. Rosenthal Collins Group, LLC, 585 F. 3d 1003, 1005 (6th Cir. 2009).

       The burden of establishing the requirements of diversity jurisdiction, in this removal

case, rests upon Defendant, who has removed the case and invoked the Court’s jurisdiction. See

Long v. Bando Mfg. of Am., Inc., 201 F. 3d 754, 757 (6th Cir. 2000).

       Within twenty (20) days of entry of this Order, Defendant shall file a Response to this

Order addressing the points discussed above and establishing that the Court does, in fact, have

subject matter jurisdiction of this action. Plaintiff may file a Reply to Defendant’s Response

within fifteen (15) days of the filing of Defendant’s Response.




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 IT IS SO ORDERED.




                                     _________________________
                                     E. Clifton Knowles
                                     United States Magistrate Judge




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